   Case 2:10-cr-00186-MHT-WC Document 2256 Filed 02/03/12 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JOSEPH R. CROSBY                   )          (WO)

                              JUDGMENT

    It is the ORDER, JUDGMENT, and DECREE of the court as

follows:

    (1) The government’s motion to dismiss (doc. no.

           2247) is granted.

    (2) Count 16 of the indictment against defendant

           Joseph R. Crosby is dismissed.

    (3) Defendant Crosby is terminated as a defendant in

           this case.

    DONE, this the 3rd day of February, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
